Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 1 of 15

JS 44 (Rev. 02/19)

The JS 44 civil cover sheet and the information contained herein neither re,
provided by local rules of court. This form,
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS

approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court
ON NEXT PAGE OF THIS FORM.)

CIVIL COVER SHEET

lace nor supplement the filing and service of pleadings or other papers as required by law, except as

for the

 

Eid’ LANA ERank Giordano, et al.

(b) County of Residence of First Listed Plaintite Burlington NJ
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Charles D. Mandracchia, Esq.

Mandracchia Law, LLC,2024 Cressman Rd., PO Box 1229,
Skippack, PA 19474 Phone #610-584-0700 ext. 222

PREFER AE of China

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

 

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
Attorneys (If Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ll. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government (13 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 1 1 Incorporated or Principal Place go4 04
of Business In This State
O 2 U.S. Government $4 Diversity Citizen of Another State 2&2 © 2 Incorporated and Principal Place o5 a5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation 06 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
fs CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
C1 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure C1 422 Appeal 28 USC 158 0 375 False Claims Act
OG 120 Marine G 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
1 130 Miller Act © 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability C367 Health Care/ 1 400 State Reapportionment
C1 150 Recovery of Overpayment | (1 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS OF 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights © 430 Banks and Banking
C151 Medicare Act 1 330 Federal Employers’ Product Liability 1 830 Patent 1 450 Commerce
(1 152 Recovery of Defaulted Liability (1 368 Asbestos Personal 835 Patent - Abbreviated Cj 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application C1 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
(7 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY J 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 370 Other Fraud O 710 Fair Labor Standards 0 861 HIA (1395ff) (1 485 Telephone Consumer
O 160 Stockholders’ Suits (1 355 Motor Vehicle O 371 Truth in Lending Act C1 862 Black Lung (923) Protection Act
1 190 Other Contract Product Liability CO 380 Other Personal 1 720 Labor/Management CO 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
(1 195 Contract Product Liability 2 360 Other Personal Property Damage Relations C1 864 SSID Title XVI C1 850 Securities/Commodities/
1 196 Franchise Injury ( 385 Property Damage 1 740 Railway Labor Act C1 865 RSI (405(g)) Exchange
(1 362 Personal Injury - Product Liability 0 751 Family and Medical 7 890 Other Statutory Actions
Medical Malpractice Leave Act © 891 Agricultural Acts
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|© 790 Other Labor Litigation FEDERAL TAX SUITS CO 893 Environmental Matters
(1 210 Land Condemnation CO 440 Other Civil Rights Habeas Corpus: (1 791 Employee Retirement 1 870 Taxes (U.S. Plaintiff (1 895 Freedom of Information
C1 220 Foreclosure CO 441 Voting 1 463 Alien Detainee Income Security Act or Defendant) Act
C1 230 Rent Lease & Ejectment O 442 Employment 1 510 Motions to Vacate © 871 IRS—Third Party C8 896 Arbitration
C1 240 Torts to Land C1 443 Housing/ Sentence 26 USC 7609 (J 899 Administrative Procedure
J 245 Tort Product Liability Accommodations 530 General Act/Review or Appeal of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -]( 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: ( 462 Naturalization Application C 950 Constitutionality of
(1 446 Amer. w/Disabilities -] 540 Mandamus & Other |( 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions
CO 448 Education (1 555 Prison Condition
C1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
Pal Original 112 Removed from O 3  Remanded from 14 Reinstated or © 5 Transferred from © 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. §1332

Brief description of cause: ;
Personal injuries and economic losses

caused by negligence and recklessness regarding coronavirus

 

VII. REQUESTED IN

(& CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

 

COMPLAINT: UNDER RULE 23,FR.CVP.  axycegg $150,000.00 JURY DEMAND: Yes __CINo
VIII. RELATED CASE(S) of
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OFJRECORD\*,
04/20/2020 Cc A Gun AACE >
FOR OFFICE USE ONLY \
RECEIPT # JUDGE MAG. JUDGE

APPLYING IFP
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 2 of 15
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: Virtua Health and Rehab, 62 Richmond Avenue, Lumberton, NJ 08048
Address of Defendant: EMbassy of People's Republic of China, 3505 International Place, N.W., Washington, DC 20008.

 

 

Flnesif Aoviion': Inedtleu! wr"Venenetion: Pennsylvania, New Jersey and United States of America

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No

pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No

numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ ] No
case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pate. 04/20/2020 C~ N\ relearn CF bina > 52844

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

Federal Question Cases: B. Diversity Jurisdiction Cases:
(J 1. Indemnity Contract, Marine Contract, and All Other Contracts L] 1. Insurance Contract and Other Contracts
(1 2. FELA L] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
CL] 4. Antitrust [] 4. Marine Personal Injury
[] 5. Patent [] 5. Motor Vehicle Personal Injury
[| 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
[] 7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases 9. All other Diversity Cases

10. Social Security Review Cases (Please specify): ___ Personal injury and economicloss

CL #11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

, Charles D. Mandracchia, Esq.

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

pare, 04/20/2020 Cc Nuance laals : 50844

Attorney-at-Law / Pro Se Plaintiff * Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 3 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

. CASE MANAGEMENT TRACK DESIGNATION FORM
Francis Smith and

Frank viordano, individually and CIVIL ACTION
on behalf of all others similarly

situated Vv. :

People's Republic of China : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (=)

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. =)

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

management cases.) (xX
(f) Standard Management — Cases that do not fall into any one of the other tracks. ( )
April 20, 2020 Charles D. Mandracchia Plaintiffs
Date Attorney-at-law Attorney for

610-584-0700 x222 610-584-0507

 

CManNWmMmnatHorhe YSa COM

Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 4 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANCIS SMITH :
and : CIVIL ACTION
FRANK GIORDANO :
and
DANIEL CHRISTY
and
REVEREND DR. HERBERT H. LUSK, I,
Individually and on behalf of : NO.
all others similarly situated, f
Plaintiffs : CLASS ACTION

 

Vv. : JURY TRIAL DEMANDED

PEOPLE’S REPUBLIC OF CHINA,
Defendant

COMPLAINT

Comes now Francis Smith, Frank Giordano, Daniel Christy, and Reverend Dr.
Herbert H. Lusk, II (collectively “Plaintiffs”), on behalf of themselves and all others
similarly situated and allege as follows:

1. Plaintiffs on behalf of themselves and all others similarly situated, bring
this action against the People’s Republic of China (“Defendant” or “China”) based on
Defendant’s negligence and reckless indifference to the rights of Plaintiffs and all others
similarly situated.

2. Plaintiffs seek on behalf of themselves and all others similarly situated,
compensatory damages, punitive damages, costs and attorney’s fees.

JURISDICTION AND VENUE

3 This Court has jurisdiction over this action against Defendant for

negligence and reckless indifference pursuant to applicable federal statutes, including but

not limited to 28 U.S.C. §1332 and 28 U.S.C. §1605 (a)(5).
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 5 of 15

A, Venue is proper in this Court pursuant to, inter alia, 29 U.S.C. §1391(c).
PARTIES

Be Plaintiff Francis Smith is an adult individual with an address at Virtua
Health and Rehab, 62 Richmond Avenue, Lumberton, NJ 08048 who is ill with COVID-
19 and brings this action as a result of his sickness caused by the coronavirus.

6. Plaintiff Frank Giordano is an adult individual who resides at 170 E. Main
Street, Moorestown NJ 08057.

7. Plaintiff Daniel Christy is an adult individual with a business address at
191 Witmer Road, Suite 300, Horsham, PA 19044.

8. Plaintiff Reverend Dr. Herbert H. Lusk, IJ, is an adult individual with an
address at Greater Exodus Baptist Church, 704-714 North Broad Street, Philadelphia PA
19130.

9. Plaintiffs Frank Giordano, Daniel Christy and Rev. Dr. Herbert Lusk (the
“Economic Loss Plaintiffs”) bring this action as individuals and owners and/or
shareholders of their businesses, and on behalf of other similarly situated individuals
including but not limited to Gary Johnson, Marc Franzoni, Andrew Venezia, Jared Barcz,
Charles D. Mandracchia, Jr., Joseph Gambone, Michael Gambone, Joseph Tarantino,
Kevin Chowns, Val Fichera, Chris Hrin, Frank Caikowski, and John Caikowski as
individuals and owners and/or shareholders of their businesses.

10. Defendant the People’s Republic of China is a foreign state located in
Asia, with an address in the United States at Embassy of People’s Republic of China in

the United States, 3505 International Place, N.W., Washington, DC 20008.
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 6 of 15

FACTUAL ALLEGATIONS

11. The delay and failure by the senior officials of the government of China,
which was the first country to face the new coronavirus and the source of the virus,
directly resulted in the global pandemic. The coronavirus pandemic currently has
resulted in more than 2.3 million cases in the world, more than 753,000 persons infected
in the United States and more than 36,000 U.S. deaths.

12. The coronavirus pandemic caused the President of the United States and
governors of many states to shut down the economy and businesses and require citizens
to be confined to their homes and to severely restrict their activities including work and
business.

13. The government of China knew of the devastation of the coronavirus and
prevented Chinese citizens from leaving or entering the city of Wuhan. However, the
government of China allowed foreign citizens to come in and out of the city of Wuhan.

14. | Documents obtained and reported on by the Associated Press demonstrate
that by no later than January 14, 2020, and likely before that time, the head of the
National Health Commission, the top medical agency in China, knew of and advised
other officials of the government of China including but not limited to President Xi
Jinping, Premier Li Keqiang and Vice Premier Sun Chunlan, that human-to-human
transmission of the coronavirus is possible and that based on a case reported in Thailand
there was a possible spread of the virus from China to other countries.

15. It also was concluded as of that time that due to upcoming public festivals
in China the risk of spread of the coronavirus was high, and the coronavirus likely would

develop into a major public health event and/or pandemic, which it did.
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 7 of 15

16. | The government of China distributed at that time information and
instructions for provincial officials with regard to the pandemic that were not to be
disclosed publicly.

17. Despite possessing such information and knowledge, however, at that time
the officials of the government of China did not publicly disclose the strong possibility of
the spread of the coronavirus by human to human transmission including spread to other
countries and the danger that the coronavirus infection in Wuhan would develop into a
major public health event and global pandemic.

18. Instead, officials of the government publicly downplayed the risk of the
spread of the coronavirus, and stated publicly that the risk of human to human
transmission of the virus was low and that there was no evidence of such transmission.

19. This was done for political reasons for the benefit of the government of
China, and to the detriment of the people of China and of the world including the United
States of America and including the Plaintiffs and other persons similarly situated.

20. On January 20, 2020 the government of China made the first public
announcement and disclosure of the true nature of the coronavirus infection and
epidemic, which the government had known already for some time.

21. On that date President Xi made his first public statement on the virus and
acknowledged its serious and dangerous nature, and a leading epidemiologist in China
stated publicly that the virus was transmitted by human to human contact.

22.  China’s delay and failure to publicly disclose its government’s knowledge
of the human to human transmission of the coronavirus and the nature of the coronavirus

epidemic as a major public health event in China and possible global pandemic resulted
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 8 of 15

in delay of implementation of containment and mitigation measures such as social
distancing, mask wearing and travel restrictions in China and in other countries including
the United States of America.

23.  China’s delay and failure to publicly disclose its government’s knowledge
of the human to human transmission of the coronavirus and the nature of the epidemic as
a major public health event in China and possible global pandemic resulted in and caused
widespread transmission of the coronavirus to other countries including the United States
of America, where the Plaintiffs and others similarly situated reside and/or do business,
and resulted in the global pandemic of the coronavirus and the deadly COVID-19 disease.

24. As a result of such delay and failure by the government of China to
publicly disclose its knowledge of the human to human transmission of the coronavirus
and the nature of the epidemic in China, Plaintiff Francis Smith contracted COVID-19,
the disease caused by the coronavirus.

25. Plaintiff Francis Smith is currently hospitalized and in critical condition,
along with tens of thousands of other people with COVID-1.

26.  Alsoasaresult of such acts and omissions by China, Plaintiffs Frank
Giordano and the other Economic Loss Plaintiffs, along with millions of other citizens of
the United States, have suffered severe and significant — losses and damages as a
result of the lockdown measures adopted by the governors of certain states and guidelines
and directions issued by the federal government in response to and mitigation of the
transmission and spread of the coronavirus and COVID-19.

27. — The failure and delay of the government of China to disclose publicly to

its citizens and to the world the government’s clear and unequivocal knowledge regarding
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 9 of 15

the true nature of the coronavirus epidemic in China was clearly negligent and recklessly
indifferent to the rights of Plaintiffs and other persons similarly situated namely the
citizens of the United States of America, and also were outrageous, wanton, willful and
malicious.

28. Such negligence and recklessness of the government of China directly
resulted in and caused the global pandemic of the coronavirus and COVID-19 and its
widespread transmission from China to the rest of the world, and resulted in personal
injuries and disease and economic and other damages and losses to the Plaintiffs and
others similarly situated.

CLASS ALLEGATIONS

29. Plaintiffs bring this class action on behalf of themselves and all others
similarly situated pursuant to Rules 23(a) and 23(b) of the Federal Rules of Civil
Procedure.

30. Plaintiffs seek to represent a class of persons to be defined as follows:

All persons in the United States of America who have been infected with and
sickened by the coronavirus and/or contracted COVID-19 on or after January 20, 2020,
and/or

All persons in the United States of America who have been affected by and
suffered economic losses as a result of the spread of the coronavirus and/or COVID-19 in
the United States and resulting government lockdown and/or guidance or directions
regarding containment and/or mitigation thereof.

31. | Numerosity: The class described above is so numerous that joinder of all

individual members in one action would be impracticable. The disposition of the
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 10 of 15

individual claims of the respective class members through this class action will benefit
both the parties and this Court.

32. Plaintiffs believe and allege, on information and belief, that there are at
minimum tens of millions of members of the class described above.

33.  Typicality: Plaintiffs’ claims are typical of the claims of the members
of the class. The claims of the Plaintiffs and members of the class are based on the same
legal theories and arise from the same tortious, reckless and willful conduct.

34. Common Questions of Fact and Law: There is a well-defined community
of interest and common questions of fact and law affecting members of the class.

35. The questions of fact and law common to the class predominate over
questions which may affect individual members and include the following:

a. Whether Defendant’s conduct of failure and delay of its government to
disclose publicly to its citizens and to the world the government’s clear and unequivocal
knowledge regarding the true nature of the coronavirus epidemic in China and likely
global pandemic of the virus and COVID-19 and its widespread transmission from China
to the rest of the world was negligent;

b. Whether Defendant’s conduct constituted reckless indifference to the
rights of Plaintiffs and other members of the class;

C. Whether Defendant’s conduct was outrageous, wanton, willful and
malicious; and

d. Whether Plaintiffs and the other members of the class are entitled to
compensatory damages, punitive damages and costs and/or attorney’s fees for

Defendant’s acts and conduct.
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 11 of 15

36. Adequacy of Representation: Plaintiffs Smith and Giordano are adequate
representatives of the class because their interests do not conflict with the interests of the
members of the class.

37. Plaintiffs will fairly, adequately and vigorously represent and protect the
interests of the members of the class and have no interests antagonistic to the members of
the class.

38. Plaintiffs have retained counsel who is competent and experienced in the
prosecution of litigation including class action litigation.

39, Superiority: A class action is superior to other available means for the
fair and efficient adjudication of the claims of the class.

40. The expense and burden of individual litigation makes it economically
infeasible and procedurally impracticable for each member of the class to individually
seek redress for the wrongs done to them.

41. The likelihood of the individual members of the class prosecuting separate
claims is remote, and individualized litigation would also present the potential for
varying, inconsistent, or contradictory judgments, and would increase the delay and
expense to all parties and the court system resulting from multiple trials of the same
factual issues.

42. —_Incontrast the conduct of this matter as a class action presents fewer
management difficulties, conserves the resources of the parties and the court system, and
would protect the rights of each member of the class.

43. Plaintiffs do not know of any other litigation concerning this controversy

commenced by or against any member of the class. Plaintiffs know of no difficulty in the
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 12 of 15

management of this action that would preclude its maintenance as a class action.

FIRST CAUSE OF ACTION
NEGLIGENCE AND RECKLESS INDIFFERENCE

44, Plaintiffs herein incorporate all of the paragraphs above by reference as if
fully set forth at length.

45. Plaintiffs assert this claim on behalf of themselves and the class against
the Defendant.

46.  China’s government’s delay and failure to publicly disclose its knowledge
of the human to human transmission of the coronavirus and the nature of the coronavirus
epidemic as a major public health event in China and possible global pandemic resulted
in delay of implementation of containment and mitigation measures such as social
distancing, mask wearing and travel restrictions in China and in other countries including
the United States of America.

47. China’s government’s delay and failure to publicly disclose its knowledge
of the human to human transmission of the coronavirus and the nature of the epidemic in
China resulted in and caused widespread transmission of the coronavirus to other
countries including the United States of America, where the Plaintiffs and other members
of the class reside and/or do business, and resulted in a global pandemic of the
coronavirus and the deadly COVID-19 disease.

48. The failure and delay of the government of China to disclose publicly to
its citizens and to the world the government’s clear and unequivocal knowledge regarding
the true nature of the coronavirus epidemic in China were clearly negligent and recklessly
indifferent to the rights of Plaintiffs and other members of the class, were in breach of its

duty and of established international protocols, and also were outrageous, wanton, willful
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 13 of 15

and malicious.

49, Such negligence and recklessness of the government of China directly
resulted in and caused the global pandemic of the coronavirus and COVID-19 and its
widespread transmission from China to the rest of the world, and resulted in personal
injuries and disease and economic and other damages and losses to the Plaintiffs and
other members of the class.

50. Asaresult of such negligence and recklessness, Plaintiff Francis Smith
and other members of the class contracted COVID-19, the disease caused by the
coronavirus, and have suffered personal severe injuries as a result, including the
following personal injuries, all of which are or may be of a permanent nature:

(a) respiratory and other serious disease(s) requiring medical treatment which may
include hospitalization and/or artificial ventilation

(b) other serious and permanent injuries, which may lead to or may have caused
death

(c) enduring and continuing to endure great pain, suffering, inconvenience,
embarrassment, mental anguish, and emotion and psychological trauma.

(d) being required to expend large sums of money for medical treatment and care,
hospitalization, medical supplies, surgical appliances, rehabilitation and therapeutic
treatment, medicines, and other attendant services;

(e) impairment of general health, strength, and vitality and being unable now and
in the future to enjoy various pleasures of life previously enjoyed;

(f) loss of the society, companionship, and consortium of spouse;

(g) inability to participate in numerous activities with children; and

10
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 14 of 15

(h) loss of earnings and loss and/or impairment of capacity for future employment
and earnings.

51. Asaresult of such negligence and recklessness of the Defendant,
Plaintiffs Frank Giordano and the other Economic Loss Plaintiffs and other members of
the class have suffered severe and significant economic losses and damages as a result of
the lockdown measures adopted by the governors of certain states and guidelines and
directions issued by the federal government in response to and mitigation of the
transmission and spread of the coronavirus and COVID-19 in the United States and the
global pandemic, which originated in China.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs on behalf of themselves and the members of the class,
pray for:

(a) An order certifying the class and appointing Plaintiffs Francis Smith and Frank
Giordano as the representatives of the class, and appointing counsel for Plaintiffs as
counsel for the class;

(b) An award to Plaintiffs and the members of the class of compensatory damages
in an amount in excess of $75,000 each;

(c) An award to Plaintiffs and the members of the class of punitive damages
against Defendant to the fullest extent allowed under the Constitution of the United
States;

(d) An award to Plaintiffs and the members of the class of all costs of suit

incurred;

11
Case 2:20-cv-01958-AB Document 1 Filed 04/20/20 Page 15 of 15

(ce) An award to Plaintiffs and the members of the class of reasonable attorney’s
fees to the fullest extent allowed under the law; and

(f) For other and further relief as the Court may deem proper.

Respectfully submitted,
MANDRACCHIA LAW, LLC

Dated: April 20, 2020 By: /s/ Charles D. Mandracchia, Esquire
Charles D. Mandracchia, Esquire
Jeffrey W. Soderberg, Esquire
Attorney I.D. Nos. 52844 & 55369
2024 Cressman Road
P.O. Box 1229
Skippack, PA 19474
610-584-0700 ext. 222
610-724-2368 (mobile)

cman@mmattorneys.com

Christopher D. Mandracchia, Esquire
Attorney I.D. No. 310041

CDM Law

4 East 1* Ave. Suite 103
Conshohocken, PA 19428
610-994-9281

cdm @¢ dmattorne ys.com

Attorneys for the Plaintiffs, individually and
on behalf of all others similarly situated

12
